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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 LERNARDO SAIN,

        PETITIONER,

                                                   CASE NO: 07-20309-07
 v.                                                HONORABLE VICTORIA A. ROBERTS
 UNITED STATES OF AMERICA,

      RESPONDENT.
 ______________________________/

                     ORDER REGARDING EVIDENTIARY HEARING
                          AND SETTING HEARING DATE

 I.     INTRODUCTION

        This matter is before the Court on Petitioner Lernardo Sain’s Motion to Vacate

 his sentence pursuant to 28 U.S.C. § 2255. The Court will hold an evidentiary hearing;

 there appear to be fact issues in dispute.

 II.    BACKGROUND

        Petitioner was sentenced by this Court to a mandatory minimum of 120 months

 in prison after he pled guilty to conspiracy to possess with intent to distribute and to

 distribute marijuana in violation of 21 U.S.C. §§ 841, 846. At Petitioner’s sentencing

 hearing, it was unclear whether Petitioner was entitled to a sentence reduction under

 United States Sentencing Guideline § 5C1.2, the “safety valve” provision. If Petitioner

 qualified, the Court had to disregard the 120 month statutory mandatory minimum

 otherwise applicable to Petitioner’s crime. Petitioner’s Rule 11 Plea Agreement and the

 attached worksheets reveal that the Government believed he would qualify under the


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 provision.

        The Court held a plea hearing on December 16, 2008; it was continued to

 January 6, 2009 to give the parties time to determine whether Petitioner was entitled to

 safety valve protection. On January 6, the Court informed Petitioner that he would

 qualify for safety valve protection if he cooperated with the Government. The

 Government and the Court assured Petitioner that he need not name other members of

 the conspiracy to benefit from the provision.

        On March 18, 2009, Petitioner and his attorney, John Brusstar, met with

 Assistant United States Attorney Michael Buckley, DEA Special Agent Luigi Milani, and

 DEA analyst Tony Los to make a safety valve proffer under U.S.S.G. § 5C1.2. Defense

 Counsel’s Sentencing Memorandum states “Mr. Sain made what he believed was a

 good faith effort to become eligible for the two-level reduction in his guidelines known as

 ‘Safety Valve.’” (Doc. 285; Def’s Sentencing Memorandum at 1).

        On June 24, 2009, the day before Petitioner’s sentencing hearing, Mr. Buckley

 sent the Court an email, stating:

        On March 18, 2009, [the Government] met with Mr. Sain and his counsel.
        Mr. Sain refused to provide any factual details of his involvement in the
        crime, saying only that he “was involved in the conspiracy.” Mr. Sain
        refused to answer even basic questions. There were minutes-long
        periods of silence. The meeting lasted one and one half hours before we
        finally ended it. Mr. Sain shook my hand and said he would “rather do 10
        years” than provide detailed information concerning the conspiracy. It is
        our position that Mr. Sain is therefore not entitled to safety valve relief.

 The Government believed that Petitioner did not meet the requirement of U.S.S.G. §

 5C1.2(a)(5), to truthfully provide to the Government “all information and evidence [he]

 has concerning the offense....”


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          At the sentencing hearing, Petitioner and his counsel gave a different account of

 the meeting. Mr. Brusstar stated:

        In that meeting, Mr. Sain was told simply he had to tell what he did, so he
        told Mr. Buckley and the Agents he showed up on June 5th, 2007 to unload
        a bunch of marijuana. His brother was there and he met other people and
        that much we know. So that was his understanding of all he had to do to
        enable himself to get that safety valve, was to tell what he did.
 (6/25/09 Tr. 5).

          The Court told defense counsel that under the provision, Petitioner had to

 provide information about the acts of others, not only his own acts. (Id. at 5-6). The

 Court asked Mr. Buckley if the meeting was recorded; he responded it was not. (Id. at

 4). The Court then asked Petitioner if he understood what he had to do to obtain relief.

 (Id. at 6). Petitioner responded:

          At that time, Your Honor, Mr. Buckley told me and if I’m not mistaken he
          said it to you in the transcript that I would only have to tell him what I did.
          He told me in the hall, me and Mr. Brusstar, that [as] long as I tell him
          what I did, he didn’t want to know about what nobody else did, the case
          was over and when I got to talk to him, he was like well, I did say that, he
          say (sic) but I lied. That’s not how it go (sic). He say (sic) I’m a man of my
          word, but that’s not how it go (sic). You here today to tell on people and
          that wasn’t my understanding in my plea.

 (Id.).

          The Court admonished Petitioner that he could not obtain relief by simply saying

 “I was involved” in the conspiracy. (Id.). Petitioner responded that he told Mr. Buckley

 more than that; he said he gave him factual details about his involvement. (Id.)

 However, when Mr. Buckley asked about other people, Petitioner stopped providing

 information because he did not know the other people involved. (Id.). When asked by

 the Court if he knew anything other than what he told the Government about “what

 happened at European Marble [ ] that day,” Petitioner stated he did not. (Id. at 6-7).

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 The Court responded that if he could not provide any further details such as how he

 became involved in the conspiracy, who got him involved, and what the conspirators

 were planning to do with the marijuana, he could not benefit from the safety valve

 provision. (Id. at 7).

        After Petitioner again claimed he told Mr. Buckley everything he knew about the

 conspiracy, Mr. Buckley said he would have been satisfied if Petitioner merely told him

 what he did. (Id.). Mr. Buckley explained, he knew Petitioner rented a 2007 blue

 Mustang from Hertz, through a third party nominee, that was spotted at the scene of the

 crime on the day of Petitioner’s arrest. (Id. at 11). However, Petitioner gave the keys to

 someone else; that person got away in the car. (Id.). Mr. Buckley stated he asked

 Petitioner who he gave the keys to, but Petitioner refused to answer. (Id. at 8). Mr.

 Buckley elaborated that the interview lasted 90 minutes; when it concluded Petitioner

 said, “I would rather do 10 years than talk about anything else.” (Id.). Petitioner

 claimed he did not make that statement. (Id.).

        The Court gave Petitioner an opportunity to consult with this attorney about

 adjourning the sentencing hearing, to allow him to meet with Mr. Buckley and provide

 more information. (Id.) After the break, defense counsel told the Court that Petitioner

 provided all the information he could and was ready to be sentenced. (Id. at 9). The

 Court asked Mr. Buckley what information Petitioner specifically provided during the

 March 18 meeting. (Id.). Mr. Buckley responded that he did not take notes; he had

 trouble recalling certain details, but stated that Petitioner refused to answer when asked

 about the person driving the Mustang at the crime scene. (Id. at 9-10). Petitioner said

 he gave more details, including that he was hired help, he went to a warehouse,

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 McDonald’s and returned, and “Mike Jones” hired him. (Id. at 10). The Court asked

 Petitioner, “you were not prepared to give Mr. Buckley the name of [the individual

 driving the blue Mustang at the European Marble on June 5, 2009]?” Petitioner

 answered, “That’s correct, Your Honor.” (Id. at 11).

        The Court found that Petitioner did not qualify for safety valve protection because

 he did not provide truthful information to the Government about all information and

 evidence he had. (Id. at 12). The Court told defense counsel it faulted him for not

 “dissuad[ing] Mr. Sain of the notion that all he had to do was provide information about

 himself.” (Id. at 13). Mr. Buckley interjected:

        Judge, if I may and it’s not my custom certainly to stand up for Defense
        Counsel, but I would say in this case there did come a point when I finally
        said Mr. Sain, I would be satisfied if you would just tell me what you did
        and he refused. Mr. Brusstar – I was there, he tried – we were there for
        90 minutes, Judge and I understand – .

 (Id.). The Court responded: “A defendant should not go to a safety valve proffer under

 the notion that all he has to do is provide information about himself. That should never

 happen.” (Id.). Defense counsel replied: “And, Your Honor, we had discussed with Mr.

 Buckley though in the hallway prior to the plea, which may have led to some

 misunderstandings. But in any event, what happened in that meeting, it took a long

 time to get to that point of breaking down, but we tried. That’s all I’m saying.” (Id.).

        The following exchange ensued:

                       MR. SAIN: I asked him in the hallway before I took the safety
        valve plea is this how it work, and he said yeah. I don’t want to know
        about nobody else. So I was under the impression I only had to –
        because I did tell him in the hallway that I take the 10 and we don’t have to
        go through me sitting down and talk with ya’ll (sic). I did tell him that in the
        hallway and he told me that he didn’t want to know nothing about it. The
        case was never. He didn’t – everybody else is done. I was the last one

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       and I just have to tell him what I did. He said I had to convince him and
       my lawyer heard him tell me when we went to the conference that he lied.

                       MR. BUCKLEY: Again, if I need to respond to that
       accusation, I never lied to Mr. Sain. What I was attempting to distinguish
       for him was the difference between full blown cooperation and a safety
       valve proffer. Now if he didn’t understand that, I can’t take responsibility
       for that, but I never lied to Mr. Sain.

                       THE COURT: And whether he lied or not, I said this already,
       I will reiterate it. The rules are real clear at what has to happen at a safety
       valve proffer and that’s what you were at on March 18.

                     MR. SAIN: Yes, that’s right.

                   THE COURT: And you should have understood those rules
       and you shouldn’t have been locked into what somebody else told you,
       what someone may have told you months before.

                      MR. SAIN: Right. Well, excuse me, Your Honor. I don’t
       understand the law. So I really didn’t know how it go, so that’s what I was
       telling him. I take that if you say that’s all I have to do. That’s how I was
       looking at it because I really don’t know how it work. I don’t know the law.

                    THE COURT: Well, I’ve tried to explain it to you this
       afternoon, Mr. Sain.

                     MR. SAIN: Yes.

                     THE COURT: And I understand that after taking that break,
       after understanding that it’s not sufficient for you to just provide
       information about yourself, you are making the decision that you want me
       to go forward and sentence you. Is that what you’re saying?

                     MR. SAIN: I told him what I done your Honor. Yeah.

                     THE COURT: You told him what you did? You didn’t tell him
       any information about anybody else?

                     MR. SAIN: No, I didn’t tell him no information about nobody
       else.

                     THE COURT: Is that – do you have information on other
       people?


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                      MR. SAIN: No I don’t, Your Honor. Only thing I told him
        about the rental card (sic). I gave him information about the guy who got
        the car for me. I got it for my daughter. I told him that.

                       THE COURT: Well, you know safety valve is not supposed
        to require coercion by the Court or by the Government. It is supposed to
        be something that the Defendant volunteers to do, wants to do to benefit
        himself and we have spent almost a half hour now talking about whether
        you know anything, whether you want to tell anything. If nothing else, Mr.
        Sain, the fact you rented this Mustang, that it was at the scene, that it took
        off and now you can’t say anything about who was in that car, that alone
        indicates to the Court that you have not provided truthful and full
        information to the Government and that is the only question I have to ask
        myself; did the Defendant give truthful information and evidence to the
        Government relevant to the crime you committed.

                                            ***
                    THE COURT: ... He asked you a very specific question
        about who was driving a car that you rented a week before and that left
        the scene and you refuse to give that information, right?

                      MR. SAIN: Yes.

                      THE COURT: You don’t want to give that information?

                      MR. SAIN: I don’t know.

                      THE COURT: What do you mean you don’t know?

                       MR. SAIN: I don’t know who was in the car. I know how I got
        the car, but I don’t know who had the car that day.

 (6/25/09 Tr. 14-16). The Court sentenced Petitioner to 120 months in prison.




 III.   ANALYSIS

        A.     Motion to Vacate Standard

        Pursuant to section 2255, a prisoner in custody under sentence of a federal court



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 may move the court to vacate, correct, or set aside the sentence on grounds that

 “the sentence was imposed in violation of the Constitution or laws of the United States,

 or that the Court was without jurisdiction to impose such sentence, or that the sentence

 was in excess of the maximum authorized by law, or is otherwise subject to collateral

 attack.” 28 U.S.C. § 2255. The petitioner bears the burden to show he is entitled to

 relief. Bowers v. Battles, 568 F.2d 1, 5 (6th Cir. 1977).

        To prevail on a § 2255 motion that alleges constitutional error, the petitioner must

 establish an error “of constitutional magnitude which had a substantial and injurious

 effect or influence on the proceedings.” Watson v. United States, 165 F.3d 486, 488

 (6th Cir. 1999). When the motion alleges non-constitutional error, “the petitioner must

 establish a fundamental defect which inherently results in a complete miscarriage of

 justice, or, an error so egregious that it amounts to a violation of due process.” Id.

 (citations and internal quotation marks omitted). Thus, “[a] motion brought under § 2255

 must allege one of three bases as a threshold standard: (1) an error of constitutional

 magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error of fact or

 law that was so fundamental as to render the entire proceeding invalid.” Weinberger v.

 United States, 268 F.3d 346, 351 (6th Cir. 2001).

        Petitioner did not directly appeal his sentence; he says he believes “an ineffective

 assistance of counsel claim would be best remedied via a § 2255 motion.” (Motion to

 Vacate at 4). “Normally, sentencing challenges must be made on direct appeal or they

 are waived.” Weinberger, 268 F.3d at 351; see also Regalado v. United States, 334

 F.3d 520, 528 (6th Cir. 2003) (“Section 2255 is not a substitute for a direct appeal, and

 thus a defendant cannot use it to circumvent the direct appeal process.”).

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        The general rule is claims not raised on direct appeal may not be raised on

 collateral review unless the petitioner shows cause and prejudice. See United States v.

 Frady, 456 U.S. 152, 167-68 (1982). However, because a defendant claiming

 ineffective assistance of counsel will often need to develop the district court record, and

 the district court is better suited than the appellate court to assess the facts related to

 the adequacy of defense counsel, an ineffective assistance of counsel claim may be

 brought in a collateral proceeding under § 2255, whether or not the petitioner could

 have raised the claim on direct appeal. See Massaro v. United States, 538 U.S. 500,

 503-06 (2003).

        B.     Ineffective Assistance of Counsel Standard

        In Strickland v. Washington, the Supreme Court held that to establish ineffective

 assistance of counsel, a defendant must show that: (1) counsel’s performance was

 unreasonable because he “made errors so serious that counsel was not functioning as

 the ‘counsel’ guaranteed the defendant by the Sixth Amendment” and (2) the deficient

 performance prejudiced the defendant. 466 U.S. 668, 687 (1984). “When a convicted

 defendant complains of ineffectiveness of counsel’s assistance, the defendant must

 show that counsel’s representation fell below an objective standard of reasonableness.”

 Id. at 687-88. Further, “[j]udicial scrutiny of counsel’s performance must be highly

 deferential.” Id. at 689.

        The Supreme Court warns, “a court must indulge a strong presumption that

 counsel’s conduct falls within the wide range of reasonable professional assistance; that

 is, the defendant must overcome the presumption that, under the circumstances, the

 challenged action ‘must be considered sound [ ] strategy.” Id. “To establish prejudice,

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  Petitioner must show a reasonable probability that, but for his attorney’s errors, the

  proceedings would have produced a different result.” Ross v. United States, 339 F.3d

  483, 492 (6th Cir. 2003).

         C.     Petitioner’s Motion

         Petitioner claims his defense counsel was constitutionally deficient at sentencing

  because he did not adequately explain U.S.S.G. § 5C1.2, the “safety valve,” and

  because he did not pursue a minor participant reduction.

                1.     The “Safety Valve”

         Petitioner alleges that the Court and defense counsel did not adequately explain

  the safety valve to him and he did not understand his obligation to provide the

  Government with everything he knew about the conspiracy. He says defense counsel

  and the Court led him to believe he would not need to name other conspirators to be

  protected by the provision, as long as he described his involvement in the conspiracy.

  Petitioner says he gave the Government all the information he had about the

  conspiracy. He points out that at his January 6, 2009 plea hearing, the prosecutor, Mr.

  Buckley, assured him that “safety valve eligibility depends on his coming in and talking

  only about what he did and not naming other people.” (1/6/09 Tr. 3).

         The Court made the same assurance:

         Yes. Mr. Sain, there are two types of cooperation. You can cooperate
         only with respect to your participation in this crime; that qualifies you for
         the safety valve. More substantial – and the Court can go below that
         mandatory minimum. You could qualify for a 5K and provide more
         substantial assistance if you give the Government information about other
         people, other offenses and I don’t – and I know that the Rule 11 does not
         cover that as a possibility, but that would give the Court a basis for
         sentencing you to an even lower sentence, but that is something you need


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          to talk to your lawyer about.

  (Id. at 4).

          Petitioner states his limited education and sixth grade reading level made it

  difficult for him to understand his safety valve obligations. He says the Government’s

  recommendation was unreasonable “when in fact neither...the Government, the Court,

  nor Petitioner’s attorney [appreciated] that Petitioner did not fully understand...the

  matter.” (Petitioner’s Motion).

                 2.     Minor Participant Reduction

          Petitioner contends defense counsel was ineffective for not pursuing a “mitigating

  role” sentence reduction under U.S.S.G. § 3B1.2. He refers to his sentencing testimony

  that he was an “off-loader” or a “mule.” He says counsel had a duty to request that the

  Court apply the four-level reduction because he was a minimal participant in the

  conspiracy like his co-conspirators, Herrera, Castenenda, and Gonzalez.

          D.     The Record Contains Factual Disputes Regarding Whether Defendant
                 Understood the Safety Valve and Whether It Should have been
                 Applied


          “If the record contains a factual dispute, the district court ‘must hold a hearing to

  determine the truth of the petitioner’s claims.’” Ross v. United States, 339 F.3d 483,490

  (6th Cir. 2003) (quoting Turner v. United States, 183 F.3d 474, 477 (6th Cir. 1999)).

  “Petitioner is not entitled to a hearing, however, ‘if the files and records of the case

  conclusively show that he is not entitled to relief.’” Id. (quoting Green v. United States,

  65 F.3d 546, 548 (6th Cir. 1995)). Stated another way, “no hearing is required if the

  petitioner’s allegations ‘cannot be accepted as true because they are contradicted by


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  the record, inherently incredible, or conclusions rather than statements of fact.’”

  Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999) (quoting Engelen v.

  United States, 68 F.3d 238, 240 (8th Cir. 1995)). Where, as here, the court considering

  the § 2255 motion also conducted the plea and sentencing hearings, the court may rely

  on its recollection. Id. The burden on a petitioner in a habeas case to establish a right

  to an evidentiary hearing is not onerous. Turner, 183 F.3d at 477.

         Under U.S.S.G. § 5C1.2, a district court may impose a sentence for certain

  crimes without regard to any statutory minimum sentence, if the court finds that the

  defendant meets the five criteria listed in 18 U.S.C. § 3553(f)(1)-(5). At Petitioner’s

  sentencing hearing the Government did not dispute that Petitioner met the first four. At

  issue was the fifth, which says, by the time of sentencing the defendant must have:

         truthfully provided to the Government all information and evidence the
         defendant has concerning the offense or offenses that were part of the
         same course of conduct or of a common scheme or plan, but the fact that
         the defendant has no relevant or useful other information to provide or that
         the Government is already aware of the information shall not preclude a
         determination by the court that the defendant has complied with this
         requirement.

  18 U.S.C. § 3553(f)(5).

         This provision requires Petitioner to provide the Government with all of the

  evidence he has related to the conspiracy, including details he knows about others’

  involvement. However, the record reveals some confusion concerning whether defense

  counsel properly instructed Petitioner about his obligations to the Government such that

  I believe Petitioner has met his “light” burden to show a right to an evidentiary hearing.

  Turner, 183 F.3d at 477.

         Petitioner was given erroneous information about his safety valve obligation by

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  the prosecutor and Court at the January 6, 2009 plea hearing. He was told he need not

  implicate others to acquire safety valve protection. At Petitioner’s sentencing hearing,

  defense counsel said that at the March 18 meeting with the Government, Petitioner was

  simply told he had to describe his own involvement in the conspiracy, which is what he

  did. (6/25/09 Tr. 5).

         While the Court attempted to clarify to Petitioner that he was required to provide

  factual details related to other conspiracy members, including the name of the person

  driving the Mustang, Mr. Buckley’s remarks during the sentencing hearing were

  confusing. Mr. Buckley said he would have been satisfied if Petitioner merely told him

  what he did, but that he refused to do that by not telling Mr. Buckley who he gave the

  Mustang keys to. However, by providing the name of an accomplice, Petitioner would

  be doing more than restricting his information to his involvement in the conspiracy. Mr.

  Buckley also indicated that there came a point during the March 18 interview where he

  told Petitioner he would be satisfied if Petitioner simply told him what he did on the day

  in question, which Petitioner and defense counsel said Petitioner did. Mr. Buckley said

  the interview broke down when Petitioner failed to provide the name of the person to

  whom he gave the Mustang keys, and based on this failure, Mr. Buckley did not believe

  Petitioner was making a good faith effort to tell him about his participation in the

  enterprise. (6/25/09 Tr. 11).

         Mr. Buckley’s confusing and contradictory statements at the plea and sentencing

  hearings, and the Court’s statement at the plea hearing, combined with the lack of a

  record of clarification on the part of defense counsel, necessitate a hearing. Mr.

  Brusstar’s statement that Petitioner believed all he needed to do to obtain safety valve

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  protection was describe his own involvement in the conspiracy, without implicating

  others, suggests that defense counsel himself lacked a complete understanding of the

  provision. Defense counsel was obligated to make sure that his client understood what

  was required of him, despite trial court or Government error. Perhaps more importantly,

  defense counsel and the prosecutor should have agreed, in advance of the proffer, on

  what information defendant was expected to provide in order to satisfy the Government.

  Generally speaking, §5C1.2 requires truthful disclosure of all information the defendant

  has concerning the offense of conviction and all relevant conduct. This means a

  defendant must disclose information regarding his conduct and the related acts of

  others. However, it appears that at different points, Mr. Buckley signaled to the

  defendant that he would be satisfied with less than full disclosure.

         At an evidentiary hearing, the Court may be able to determine whether Petitioner

  gave the Government all the information he had regarding the crime, and whether Mr.

  Buckley sought something less than that. In his motion, Petitioner said he was a hired

  helper whose only role in the conspiracy was to unload a truck of marijuana. He said he

  was acting at the direction of “Mike Jones” and was unfamiliar with other people

  assisting in the plot. Under these circumstances, it is plausible that Petitioner turned the

  Mustang keys over to an unknown person, at Mr. Jones’ or someone else’s behest.

  Petitioner did not offer these facts at the sentencing hearing, but neither was he asked

  why he gave the keys to a stranger.

         Mr. Buckley said that Petitioner “wouldn’t answer,” when asked who he gave the

  Mustang keys to, but Mr. Buckley did not elaborate by saying, for example, Petitioner

  stated he knew the driver’s name but would not tell Mr. Buckley. Mr. Buckley admitted

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  that the interview was not tape recorded, he did not have any notes from the meeting,

  and the other individuals present during the meeting were not at the sentencing hearing

  to testify; Mr. Buckley had trouble recalling other facts from the meeting.

         An evidentiary hearing would facilitate a narrowly-tailored factual investigation

  into the precise issues, and allow the court to make explicit findings, supported by the

  record.

         After the hearing, if the Court determines that defense counsel did not

  adequately explain the safety valve provision to Petitioner, (or a more narrow

  agreement with the Government) and that Petitioner was still confused about his

  obligation to the Government because of counsel’s deficient performance, the Court

  may have a basis to find that counsel’s performance was prejudicial. If Petitioner had

  the benefit of the safety valve, the Court would have had complete discretion at

  sentencing; it could have even sentenced Petitioner below the applicable guidelines

  range of 70-87 months, rather than to a mandatory minimum of 120 months. See, e.g.,

  Arredondo, 178 F.3d at 784 (“...Platcha’s alleged performance at sentencing – which

  may have increased Arredondo’s sentence by as much as eight years – constitutes

  prejudice sufficient to implicate the Strickland framework.”).

         Even if the Court concludes that Petitioner understood his safety valve

  obligations at sentencing, if it determines that he truthfully gave the Government all the

  information he had, the Court could conclude Petitioner is entitled to relief based on

  Counsel’s deficient performance. Petitioner stated over and over again during

  sentencing that he told Mr. Buckley everything he knew about the conspiracy and that,

  with the exception of Mike Jones, he did not know who the other conspirators were.

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  However, counsel did not stress this point. Nor did he emphasize that under section

  3553(f)(5), the Court had discretion to apply the safety valve even if Petitioner could not

  provide the Government with useful information or information the Government was not

  already aware of. See 18 U.S.C. § 3553(f)(5) (“...but the fact that the defendant has no

  relevant or useful other information to provide or that the Government is already aware

  of the information shall not preclude a determination by the court that the defendant has

  complied with this requirement.”). Counsel’s complete lack of comment or argument on

  this point could have been prejudicial to Petitioner if the Court believes such argument.

         In Valentine v. United States, the Sixth Circuit opined:

         The defendant’s burden to show his right to a hearing is significantly lower
         than his burden to show he is entitled to § 2255 relief. See Turner, 183
         F.3d at 477. Here, [Defendant] offers more than a mere assertion of his
         innocence; he presents a factual narrative of the events that is neither
         contradicted by the record nor “inherently incredible.” His claim may prove
         false at the evidentiary hearing, but it is impossible to assess its veracity
         based on this record alone. The purpose of the hearing, however, is to
         allow the court to make these factual determinations based on more than
         a defendant’s affidavit and the contrary representations of the
         government.

  488 F.3d 325, 334 (6th Cir. 2007). This reasoning applies here.

         E.     Defense Counsel was not Constitutionally Ineffective for Failing to
                Seek an Unavailable “Mitigating Role” Reduction

         Sain cannot establish that he was prejudiced under Strickland’s second prong, by

  defense counsel’s failure to argue for a mitigating role reduction. Sain entered into a

  Rule 11 Plea Agreement with the Government; the agreement did not incorporate a

  mitigating role reduction. Petitioner agreed to the sentencing calculations and

  guidelines there. (Doc. 209; Rule 11 Plea Agreement at 7). He agreed not to take a

  position contrary to that reflected in the sentencing worksheets attached to the

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  agreement. (Id. at 3). At the December 16, 2008 plea hearing, Petitioner said he read

  and understood the Plea Agreement. (12/16/08 Tr. 6). Petitioner also stated defense

  counsel discussed the agreement with him and was able to answer all of his questions

  before he signed it. (Id. at 8). He said he was satisfied with defense counsel’s

  representation and he entered the agreement knowingly and voluntarily. By knowingly

  and voluntarily giving up his right to argue for a reduction not anticipated by the

  agreement or reflected in the attached worksheets, Petitioner cannot now argue that he

  was prejudiced by defense counsel’s failure to argue for such reduction at the

  sentencing hearing.

         In addition, the Court found that Petitioner was not entitled to safety valve relief

  and it was required by statute to sentence him to 120 months. For these reasons, any

  argument for a guideline reduction and a sentence below the mandatory minimum,

  based on Petitioner’s minimal involvement in the scheme, would have been futile. See

  Strickland, 466 U.S. at 691 (“The defendant must show that there is a reasonable

  probability that, but for counsel’s unprofessional errors, the result of the proceeding

  would have been different.”).


  IV.    CONCLUSION

         The Court grants an evidentiary hearing to determine (1) whether Petitioner

  understood that in order to obtain safety valve protection under U.S.S.G. § 5C1.2, he

  had to provide the Government with all information and evidence he had, including the

  names of co-conspirators, in particular the person he gave the Mustang keys to and (2)

  whether Petitioner knew the name of that person. Alternatively, the Court will consider


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  evidence that the prosecutor indicated he would be satisfied if the defendant only gave

  information pertaining himself. The hearing will take place on MONDAY, AUGUST 22,

  2011 AT 9:00 AM.

          According to Rule 8(c) of the Rules Governing section 2255 Proceedings for the

  United States District Courts, if a § 2255 motion is filed and the court determines an

  evidentiary hearing is warranted, the Court must appoint an attorney to represent a

  moving party who qualifies under 18 U.S.C. § 3006A to have counsel appointed. Thus,

  the Court will appoint counsel for the evidentiary hearing.

          IT IS ORDERED.


                                                     /s/ Victoria A. Roberts
                                                   Victoria A. Roberts
                                                   United States District Judge

  Dated: June 29, 2011

   The undersigned certifies that a copy of this
   document was served on the attorneys of
   record and Lernardo Sain by electronic
   means or U.S. Mail on June 29, 2011.

   s/Linda Vertriest
   Deputy Clerk




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